Case 1:23-cv-03026-TOR   ECF No. 61-13   filed 03/24/23   PageID.1836 Page 1 of 2




                         Exhibit M
Case 1:23-cv-03026-TOR   ECF No. 61-13    filed 03/24/23   PageID.1837 Page 2 of 2




                    Chronology of FDA Communications


                   Record
       Date                                     Brief description
                   citation
 1   11/3/2015   Hughes         Letter to FDA from medical and public health
                 Decl. Ex. E    researchers
 2   11/4/2015   Hughes         Letter to FDA from the American Congress of
                 Decl. Ex. F    Obstetricians and Gynecologists
 3   2/4/2016    ECF No.        Letter to FDA from 30 organizations, including
                 1-9            American College of Obstetricians and
                                Gynecologists (ACOG), Society of Family
                                Planning (SFP), Planned Parenthood Federation
                                of America (PPFA), and others
 4   3/29/2016   ECF No.        FDA’s Cross Discipline Team Leader Review
                 1-10
 5   6/20/2019   Hughes         Letter to FDA from American Academy of
                 Decl. Ex. H    Family Physicians (AAFP)
 6   3/30/2020   Hughes         Letter to FDA and DHHS from Plaintiff States
                 Decl. Ex. D
 7   5/27/2020   Hughes         Complaint in American College of Obstetricians
                 Decl. Ex. I    and Gynecologists, et al. v. FDA, et al, Case No.
                                8:20-cv-01320-TDC (D. Md.)
 8   8/13/2021   Hughes         Letter to FDA from SFP
                 Decl. Ex. J
 9   9/29/2021   Hughes         Letter to FDA from Plaintiffs in Chelius v.
                 Decl. Exs. B   Becerra, No. 1:17-cv-00493-JAO-RT (D. Haw.),
                 (letter) and   with appendix
                 C (app’x)
 10 10/6/2021    Hughes         Letter to FDA from ACOG
                 Decl. Ex. K
 11 6/21/2022    Hughes         Letter to FDA from American Medical
                 Decl. Ex. L    Association (AMA) and ACOG
 12 10/4/2022    Hughes         Citizen Petition from ACOG and 48 other
                 Decl. Ex. A    organizations, including AAFP, AMA, PPFA,
                                SFP, and others
